
80 So.3d 1110 (2012)
Thomas J. ANTINARELLI, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-4343.
District Court of Appeal of Florida, Fifth District.
February 24, 2012.
Thomas J. Antinarelli, Sneads, pro se.
Pamela J. Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the August 24, 2011 re-sentencing of petitioner in case numbers 05-1996-CF-027176, 05-1996-CF-026882-A, and 05-1997-CF-003762-A in the Circuit Court in and for Brevard County, Florida. See Fla. R.App. P. 9.141(c)(6)(D).
PETITION GRANTED.
ORFINGER, C.J., LAWSON and COHEN, JJ., concur.
